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                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION




UNITED STATES OF AMERICA,

              Plaintiff,
                                                           File No. 1:13-CR-214
v.
                                                           HON. ROBERT HOLMES BELL
WILLIAM MICHAEL JOHNSON,

              Defendant.
                                              /

                                        OPINION

       Defendant William Michael Johnson has been charged in a two-count indictment with

conspiracy to possess with intent to distribute methamphetamine and possession with intent

to distribute methamphetamine. (ECF No. 1.) Defendant Johnson has filed a motion to

suppress evidence. (ECF No. 36.) For the reasons that follow, the motion will be denied.

                                              I.

       For purposes of this motion, Defendant Johnson assumes the following facts gleaned

from the indictment, search warrant affidavits, and police reports. On August 16, 2013,

postal inspectors removed an express mail envelope from the mail stream and subjected it

to a sniff by a police dog certified in narcotics detection. After the dog made a positive alert

on the envelope, the inspector applied for a search warrant. On August 19, 2013, Magistrate

Judge Scoville issued a search warrant for the envelope. The warrant was executed on

August 19, and the contents of the envelope field tested positive for methamphetamine or
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MDMA. The envelope was resealed and delivered to the address on the envelope. A second

search warrant was executed at that address, and the envelope was found on the floor of the

master bedroom.

                                                II.

       Defendant Johnson moves for suppression of the evidence based on his contention the

postal inspector lacked reasonable suspicion to initially seize the envelope and take it out of

the mail stream. Defendant Johnson further contends that the search warrants were issued

as a result of that initial unlawful seizure, and that therefore all of the evidence seized should

be suppressed as fruit of the poisonous tree.

       As the party moving to suppress evidence, Defendant Johnson bears the burden of

establishing that the evidence was secured in violation of the Fourth Amendment. United

States v. Blakeney, 942 F.2d 1001, 1015 (6th Cir. 1991); United States v. Freeland, 562 F.2d

383, 385 (6th Cir. 1977). Based on the record presented, the Court concludes that Johnson

has not met this burden. The Court finds that no evidentiary hearing is necessary because

Johnson has not challenged the veracity of any of the statements in the record, nor has he

suggested that he would be able to present evidence at a hearing that would satisfy his burden

of establishing a Fourth Amendment violation. Johnson’s motion fails on several grounds.

A. Standing

       First, Johnson has failed to show that the seizure of the envelope violated his own

Fourth Amendment rights. “[I]n order to claim the protection of the Fourth Amendment, a



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defendant must demonstrate that he personally has an expectation of privacy in the place

searched, and that his expectation is reasonable; i.e., one that has ‘a source outside of the

Fourth Amendment, either by reference to concepts of real or personal property law or to

understandings that are recognized and permitted by society.’” Minnesota v. Carter, 525

U.S. 83, 88 (1998) (quoting Rakas v. Illinois, 439 U.S. 128, 143-144 (1978)). “‘Because

Fourth Amendment rights are “personal,” the central inquiry in any suppression hearing is

whether the defendant challenging the admission of evidence has shown a legitimate

expectation of privacy in the place searched or the thing seized.’” United States v. Waller,

426 F.3d 838, 843 (6th Cir. 2005) (quoting United States v. King, 227 F.3d 732, 743 (6th Cir.

2000)). Accordingly, in order to establish standing for his suppression motion, Johnson has

the burden of showing that he personally had an expectation of privacy in the envelope that

society would recognize as legitimate. In United States v. Elgin, 57 F. App’x 659 (6th Cir.

2003), the court held that the defendant did not have standing the contest the disputed search

and seizure of a package where the package had not been sent by Elgin, addressed to Elgin,

or mailed to Elgin’s address. Id. at 661; see also United States v. Smith, 783 F.2d 648, 650

(6th Cir. 1986) (finding that the defendant was not a person aggrieved by the search and

seizure because he did not establish a legitimate expectation of privacy in the place searched

and asserted no property or possessory interest in either the place searched or the evidence

seized).

       Johnson has not asserted that he sent the envelope, that the envelope was addressed



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to him, or that it was mailed to his address. The only interest Johnson has expressed in the

package is that he was a friend of the addressee and that he had made inquiries on the status

of the envelope. (Def. Mot. 4, ECF No. 36.) Johnson has not manifested a subjective

expectation of privacy in the envelope that society would recognize as legitimate.

Accordingly, he does not have standing to challenge the seizure of the envelope.

B. Search or Seizure

       Second, even if Johnson could show that he had a legitimate expectation of privacy

in the envelope, he has not shown a search or seizure within the meaning of the Fourth

Amendment when the envelope was temporarily removed from the mail stream for purposes

of subjecting it to a dog sniff.

       “‘A “search” occurs when an expectation of privacy that society is prepared to

consider reasonable is infringed. A “seizure” of property occurs when there is some

meaningful interference with an individual’s possessory interests in that property.’” United

States v. Gant, 112 F.3d 239, 241 (6th Cir. 1997) (quoting United States v. Jacobsen, 466

U.S. 109, 113 (1984)).

       “What a person knowingly exposes to the public, even in his own home or office, is

not a subject of Fourth Amendment protection.” Katz v. United States, 389 U.S. 347, 351

(1967). “Thus, the Fourth Amendment is not implicated when only external features of a

package, like the address labels are examined; there is no reasonable expectation of privacy

that the outside of a package given to a mail-carrier will be kept private.” United States v.



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Hoang, 486 F.3d 1156, 1159-60 (9th Cir. 2007). “Similarly, the Fourth Amendment is not

implicated by the use of a dog sniff by a trained dog to detect contraband in a package.” Id.

at 1160; see also Illinois v. Caballes, 543 U.S. 405, 409 (2005) (“[T]he use of a well-trained

narcotics-detection dog – one that ‘does not expose noncontraband items that otherwise

would remain hidden from public view,’ – during a lawful traffic stop, generally does not

implicate legitimate privacy interests.”) (citation omitted). Subjecting the envelope to the

dog sniff did not qualify as a search protected by the Fourth Amendment.

       Detention of mail could, at some point, become an unreasonable seizure within the

meaning of the Fourth Amendment. United States v. Van Leeuwen, 397 U.S. 249, 252

(1970). However, removing the envelope from the mail stream would only constitute a

seizure to the extent it meaningfully interfered with Defendant’s possessory interest in the

envelope. See Gant, 112 F.3d at 241. The possessory interest in a mailed package is in the

package’s timely delivery, “not in ‘having his package routed on a particular conveyor belt,

sorted in a particular area, or stored in any particular sorting bin for a particular amount of

time.’” Hoang, 486 F.3d at 1160 (quoting United States v. Hernandez, 313 F.3d 1206, 1210

(9th Cir. 2002)). Thus, “no seizure occurs if a package is detained in a manner that does not

significantly interfere with its timely delivery in the normal course of business.” Id. at 1162.

Under analogous circumstances, the Sixth Circuit has held that “the brief investigative

detention and relocation of baggage so that it could be examined by a drug-sniffing dog did

not constitute a search or seizure, where the luggage was not opened or otherwise ‘exposed



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to police or public view,’ and where this procedure ‘caused no meaningful interference with

[the] defendant’s possessory interest in [his] bag.’” United States v. Gant, 112 F.3d 239, 241

(6th Cir. 1997).

          In this case, the express mail envelope was mailed on August 15, 2013, and was due

to be delivered on August 16. The envelope was temporarily diverted from the ordinary

delivery process so that it could be subjected to a dog sniff. The dog alerted on the envelope

on August 16, at which time probable cause was established to detain the envelope for

purposes of seeking a warrant. Because the initial detention without probable cause did not

exceed the delivery period, it did not meaningful interfere with any possessory right to the

parcel.

C. Reasonable Suspicion

          Third, even if Johnson had a legitimate privacy interest in the envelope, and even if

its temporary detention did meaningfully interefere with his possessory right to the envelope,

Johnson’s Fourth Amendment challenge would still fail because the detention of the

envelope was supported by reasonable suspicion.

          If a parcel is removed from the mail stream and detained for a sufficient period of time

to cause a meaningful interference with an individual’s possessory right, it will still pass

constitutional muster if the detention is supported by reasonable suspicion. See United States

v. Robinson, 390 F.3d 853, 870 (6th Cir. 2004) (“[O]nly reasonable suspicion, and not

probable cause, is necessary in order to briefly detain a package for further investigation,



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such as examination by a drug-sniffing dog.”). In Elgin the court held that evidence that the

package had been mailed from a city that was known to be a common source of illegal drugs,

that the package showed a fictitious return address, and that three other packages had been

mailed to the same address that also contained fictitious return addresses, was sufficient to

support a finding that the authorities had a reasonable suspicion that justified holding the

package for a line-up presentation to the drug-sniffing dog. Elgin, 57 F. App’x at 661.

       In this case the postal inspector’s warrant affidavit provided the following reasons for

removing the express mail envelope from the mail stream for a dog sniff: it weighed more

than eight ounces, it bore a handwritten label, it did not have a business account number, it

was addressed from an individual to an individual, it had a fictitious return address, and it

was mailed from Phoenix, AZ, which is a known narcotic mailing source location. (Williams

Aff. ¶ 7.) Defendant Johnson contends that these reasons would make all envelopes mailed

with handwritten addresses from any one individual from the Phoenix area that weighed

more than eight ounces subject to a seizure, and that such an overly-broad interpretation of

reasonable suspicion is unreasonable. (Def. Mot. 7.) Contrary to Defendant Johnson’s

assertions, the factors identified by the postal inspector are not overly broad. The factors

identified by the postal inspector are further limited to express mail envelopes with false

return addresses. The Court is satisfied that the postal inspector identified “specific and

articulable facts” that reasonably justified the limited intrusion. See Terry v. Ohio, 392 U.S.

1, 21 (1968).



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       For the reasons stated, Defendant Johnson’s motion to suppress will be denied. An

order consistent with this opinion will be entered.




Dated: June 5, 2014                               /s/ Robert Holmes Bell
                                                  ROBERT HOLMES BELL
                                                  UNITED STATES DISTRICT JUDGE




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